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               IN THE UNITED STATES BANKRUPTCY COURT

                          FOR THE DISTRICT OF WYOMING

                                          )
In re                                     )
                                          )
                 Clicked AI,              )                    Case No. 24-20226
                                          )                    Chapter 11
                                          )
                Debtor.                   )
                                          )
                                          )
                                          )
__________________________________        )

    ORDER AUTHORIZING USE OF CASH COLLATERAL PURSUANT TO

                               SECTIONS 361 AND 363

        THIS MATTER having come before the Court on the Debtor’s Expedited Motion

for Order Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. §§ 361 and 363 and

the Court, having reviewed the file and being fully advised of the premises, notice having

been provided to creditors and parties in interest, and no objections having been received,

the Court does hereby ORDER as follows:

           Debtor is authorized to use Cash Collateral in accordance with said Motion

nunc pro tunc from the Petition Date through the date of final hearing; and Debtor is

authorized to provide adequate protection to the ordinary business creditors in the form

set forth herein. As adequate protection for any interest in Cash Collateral used by the

Debtor, ordinary business creditors are granted interest in the Debtor’s post-petition

inventory, cash-receivables, equipment and depository accounts, solely to the extent that

(i) the Debtor diminishes such Cash Collateral and (ii) the interest of the ordinary
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business creditors is perfected on the Petition Date; and in no event to exceed the type,

kind, priority and amount, if any, which existed on the Petition Date.

       IT IS FURTHER ORDERED that creditor Amazon Capital Services, Inc. doing

business as Amazon Lending, shall release, and cause any of its affiliates such as

Amazon.com, Inc. or Amazon Services LLC to release, any hold on Debtor’s funds that

are currently held as account level reserve in Debtor’s seller’s business account, Amazon

Merchant Number A3ITMN7TLDLXFM and shall cause Debtor’s transactions to be

processed without such account level reserve.



                                          By the Court:


                                          ______________________________
                                          United States Bankruptcy Judge
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